




NO. 07-07-0406-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



NOVEMBER 15, 2007

______________________________



In the Matter of the Marriage of CHARLES RAY &nbsp;

KOLB, JR. and AMINA KOLB and in the interest of

CHARLES EBUKKA KOLB and DAVID CHIKE KOLB, CHILDREN

_________________________________



FROM THE COUNTY COURT AT LAW NO. 4 OF MONTGOMERY COUNTY;



NO. 06-08-08270-CV; HON. MARY ANN TURNER, PRESIDING

________________________________



MEMORANDUM OPINION

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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Appellant Amina Kolb filed a notice of appeal on August 2, 2007. &nbsp;However, she did not pay the $175 filing fee required from appellants under Texas Rule of Appellate Procedure 5. &nbsp;Nor did she file an affidavit of indigence per Texas Rule of Appellate Procedure 20.1. &nbsp;By letter from this Court dated October 30, 2007, we informed appellant that the filing fee in the amount of $175.00 had not been paid and if not paid “by Friday, November 9, 2007, this appeal will be subject to dismissal.” 
Tex. R. App. 
P. 42.3(c); 
see Holt v. F. F. Enterprises
, 990 S.W.2d 756 (Tex. App.–
Amarillo 1998, pet. ref’d). &nbsp;The deadline lapsed, and the fee was not received. 



Because appellant failed to pay the requisite filing fee as directed by the court, we dismiss the appeal pursuant to Texas Rule of Appellate Procedure 42.3(c). 



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Per Curiam


